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                                U.S. Department of Health and Human Services


                                Office of Inspector General




                                States" Use of
                                Grant Funding for
                                a Targeted
                                Response to the
                                Opioid Crisis




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   States’ Use of Grant Funding for a Targeted                                                 Why OIG Did This
   Response to the Opioid Crisis                                                               Review
                                                                                               To address the increased need
   What OIG Found                                                                              for treatment services, the 21st
   More than $300 million--almost a third of the total                                         Century Cures Act established
   nationwide grant funding for the State Targeted                                             the STR grant program.
   Response to the Opioid Crisis grant program (STR                                            Through this program,
   grant program)--remained unspent after 2 years.                                             SAMHSA awarded almost
   Among individual States, 14 spent less than half of                                         $1 billion in grants to States
   their respective grant allocations. In total, all but                                       over a 2-year grant period
   six States requested no-cost extensions that will                                           (May ;)017 through April 2019~.
   allow them up to an additional 12 months to spend                                           States were required to use
   their original STR funding. States attributed                                               these funds to:
   spending delays primarily to challenges related to
                                                                                                    expand access to
   State procurement processes. Additionally, several
                                                                                                    evidence-based treatment
   States are in danger of exceeding the legislatively
                                                                                                    for OUD, especially MAT;
   mandated 5-percent cap on administrative costs.
                                                                                                    reduce unmet treatment
   Across all States, 65 percent of spending was                                                    needs; and
   devoted to improving access to treatment in                                                      reduce opioid overdose-
   general for opioid use disorder (OUD), and as a                                                  related deaths through
   result, States reported that the number of patients                                              the provision of
   receiving any type of OUD treatment increased                                                    prevention, treatment,
   substantially during the grant period. However,                                                  and recovery support
   although the Substance Abuse and Mental Health                                                   services.
   Services Administration (SAMHSA) required States
                                                                                               How OIG Did This
   to use STR grant funds to implement or expand
                                                                                               Review
   access specifically to evidence-based OUD treatment--particularly, medication-
   assisted treatment (MAT)--the agency did not collect data on how many                       For 56 States and territories
   patients specifically received MAT versus other types of treatment (i.e.,                   that received STR grants, we
   detoxification or abstinence-based treatment).                                              examined how much of each
                                                                                               State’s award remained
   Given the lack of data, it is unclear how successful the STR grant program was at
                                                                                               unspent at the end of the first
   achieving its goal of expanded access to MAT. Without such data, SAMHSA has limited
                                                                                               and second years of the grant
   means to monitor whether the money spent through the STR grant program, or other
                                                                                               period. We also reviewed
   future grant programs, is helping patients obtain effective, evidence-based treatment for
                                                                                               progress reports to determine
   OUD.
                                                                                               how States used STR grant
                                                                                               funds to expand access to
   What OIG Recommends
                                                                                               OUD prevention, evidence-
   We recommend that SAMHSA work closely with States and territories during the
                                                                                               based treatment, and recovery
   no-cost extension period to address barriers to timely spending and to ensure that
                                                                                               support services. We also
   administrative cost caps are not exceeded. Additionally, we recommend that SAMHSA
                                                                                               reviewed the number of
   require States that receive grants for OUD treatment to specifically report how many
                                                                                               patients who received OUD
   patients are receiving MAT. SAMHSA concurred with our recommendations.
                                                                                               treatment and recovery
                                                                                               services through STR-funded
                                                                                               activities.

   Full report: oig.hhs.gov/oei/reports/oei-BL-18-00460.asp




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          Almost a third of total nationwide STR grant funding ($304 million) remained unspent after
          2 years

          States reported using STR funding to expand access to treatment, but the number of patients
          who specifically received MAT is unknown


       CONCLUSION AND RECOMMENDATIONS

          Work closely with States and territories during the no-cost extension period to address         12
          barriers to timely spending and to ensure that administrative cost caps are met

          Require States receiving OUD treatment grants to specifically report how many patients are      13
          receiving evidence-based treatment, including MAT


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          A: Percentages of STR Awards That Remained Unspent by April 30, 2019                            15

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      BACKGROUND
                                           Objective
                                                      To review grantees’ use of funds under the State Targeted
                                                      Response to the Opioid Crisis grant program.



                                           The rise in opioid addiction and overdose rates among Americans
                                           combined with inadequate access to quality, specialized treatment for
                                           substance abuse continues to fuel the opioid crisis. More than 2 million
                                           people in the United States have an opioid use disorder (OUD) related to
                                           prescription pain relievers and/or heroin) Moreover, roughly two-thirds of
                                           the 70,000 drug overdose deaths in 2017 involved an opioid, with an
                                           average of 130 opioid-overdose deaths each day.~ Access to appropriate
                                           treatment is vital in addressing the escalating rates of addiction and
                                           mortality. However, the Substance Abuse and Mental Health Services
                                           Administration (SAMHSA) estimates that only 29 percent of people with
                                           OUD received specialty treatment for illicit drug use in 2017.3

                                           To address the increased need for OUD treatment services, the 21st Century
                                           Cures Act established the State Targeted Response to the Opioid Crisis
                                           grant program, hereinafter referred to as the STR grant program.4 The STR
                                           grant program, administered by SAMHSA, provided $1 billion over a 2-year
                                           period to 57 States and U.S. territories. According to SAMHSA, the purpose
                                           of the program is to expand access to evidence-based OUD treatment,
                                           particularly medication-assisted treatment (MAT); reduce unmet treatment
                                           needs; and reduce opioid overdose-related deaths through the provision of
                                           prevention, treatment, and recovery support services,s, 6    (Recovery support
                                           typically occurs after treatment begins and is an ongoing process in which
                                           patients rebuild their lives, relationships, and health.7)

                                           In this report, OIG examined how States and territories used STR grant
                                           funds disbursed in 2017 and 2018 to meet the above goals.


      Medication-Assisted                  MAT is widely recognized as the primary evidence-based treatment for
                                           OUD,8, 9It includes the use of medications approved by the Food and Drug
      Treatment
                                           Administration (FDA) in combination with behavioral interventions and
                                           recovery support services)° Exhibit 1 provides an overview of the
                                           medications (i.e., methadone, buprenorphine, and naltrexone) used in MAT.
                                           Some in the treatment community adhere to an abstinence-only philosophy
                                           that--in contrast to MAT--avoids the use of medications, particularly those
                                           that activate opioid receptors. However, abstinence-based treatment--the
                                           use of behavioral therapy or counseling combined with complete
                                           abstinence--is not scientifically supported. MAT has been found to be

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                                               more effective than abstinence-based treatment at keeping patients in
                                               treatment and reducing their use of opioids because MAT drugs are
                                               designed to reduce opioid cravings and withdrawal.11 Research has also
                                               shown that abstinence-based treatment is associated with a very high
                                               relapse rate, and significantly increases an individual’s risk for opioid
                                               overdose and death if opioid use is resumed)2’ 13

      Exhibit 1: Three FDA-Approved Drugs Are Used in Medication-Assisted Treatment.

        MAT is the use of medications coupled with effective behavioral therapies and recovery support services to
        treat OUD and prevent opioid overdose. There are three FDA-approved drugs used in MAT, and each is
        subject to different restrictions.

         Methadone                                     Buprenorphine                               Naltrexone

          ¯     Schedule II controlled                  ¯    Schedule III controlled                ¯     Not a controlled substance
                substance                                    substance                              ¯    Can be prescribed by any
          ¯     Dispensed only through                  ¯    Dispensed through a                         health care provider
                SAMHSA-certified Opioid                      SAMHSA-certified OTP or a                   licensed to prescribe
                Treatment Programs (OTPs)                    Buprenorphine-Waivered                      medications
                                                             Office-Based Opioid
                                                             Treatment practice


      Source: SAMHSA, Medication-Assisted Treatment, April 26, 2019. Accessed at https://www.samhsa.qov/medication-assisted-treatment on
      September 3, 2019.
      Note:   Schedule II drugs have a high potential for abuse, with use potentially leading to severe psychological or physical dependence.
      Schedule III drugs have a moderate to low potential for physical and psychological dependence.



                                               Despite the well-documented effectiveness of MAT, individuals often
                                               encounter barriers to accessing this type of treatment)< 15 Because of the
                                               historic emphasis on abstinence in substance abuse treatment, MAT has
                                               sometimes been stigmatized and dismissed as "substituting one addiction
                                               for another."16 Many patients seeking OUD treatment experience difficulties
                                               in finding providers who prescribe MAT,17 as approximately 90 percent of
                                               conventional drug treatment facilities do not offer it)8 Additionally, prior
                                               OIG work and other research have demonstrated that there are geographic
                                               disparities in the availability of MAT services)9’ 2o

                                               To address these barriers, the U.S. Department of Health and Human
                                               Services (HHS) developed a Five-Point Strategy to Combat the Opioid Crisis,
                                               which prioritizes improving access to MAT and strengthening data
                                               collection and reporting on patients receiving MAT.21 The STR grant
                                               program represents one of HHS’s primary efforts to meet these stated
                                               goals.22 However, in a 2017 review, the Government Accountability Office
                                               found that HHS had not established performance measures that would
                                               allow HHS to determine whether its various programs, including the STR
                                               grant program, were successful in expanding access to MAT.23




      States’ Use of Grant Funding for a Targeted Response to the Opioid Crisis
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      State Targeted                       The STR grant program was SAMHSA’s first opioid-specific grant program
                                           that provided nationwide funding to expand access to OUD prevention,
      Response to the
                                           treatment, and recovery support services. The agency awarded $970 million
      Opioid Crisis Grants                 in STR funding across all 50 States, the District of Columbia, 4 U.S.
                                           territories, and the free-associated States of Palau and Micronesia
                                           (collectively referred to hereafter as "States").24’ 25 SAMHSA allocated this
                                           funding using a formula based on drug-related deaths and unmet
                                           treatment needs in each State.26 Funds were split over a 2-year period, with
                                           $485 million awarded for the first grant year (May 1, 2017, to April 30, 2018)
                                           and the remaining $485 million awarded for the second grant year (May 1,
                                           2018, to April 30, 2019).27’28 SAMHSA also divided an additional $1 million in
                                           supplemental STR funding among three States--Massachusetts, New
                                           Hampshire, and West Virginia--that have been particularly affected by the
                                           opioid crisis.29


                                           Req u ired Activities
                                           States were required to develop a strategic plan identifying and addressing
                                           gaps in OUD prevention, treatment, and recovery support services.3° Within
                                           this broad mandate, States were given flexibility to determine how to best
                                           use funds to meet the needs of their respective communities. SAMHSA
                                           reviewed and approved each State’s strategic plan.

                                           Although States had flexibility to use STR funding for a variety of activities,
                                           SAMHSA required all strategic plans to address the following:
                                               ¯    designing and implementing primary and secondary prevention
                                                    methods;
                                               ¯    implementing or expanding access to clinically appropriate
                                                    evidence-based treatment--particularly, the use of MAT;

                                               ¯    assisting patients with treatment costs;

                                               ¯    providing treatment coverage for patients transitioning from
                                                    criminal justice or other rehabilitative settings; and
                                               ¯    enhancing recovery support services.

                                           States were also permitted to use funds to train practitioners; support
                                           telehealth in rural and underserved areas; purchase the overdose-reversal
                                           drug naloxone for distribution; enhance their respective State Prescription
                                           Drug Monitoring Programs; and conduct other nondirect allowable activities
                                           specified by SAMHSA.31’ 32


                                           Funding Requirements
                                           States were required to spend funds in accordance with SAMHSA’s funding
                                           requirements, which included provisions that:33

                                               ¯    funds may supplement, but not supplant, existing OUD prevention,
                                                    treatment, and recovery support services within the State;

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                                                      providers that receive funding must not deny a patient access to
                                                      MAT or consider a patient "not in recovery" based solely on the
                                                      patient’s use of MAT; and

                                               ¯      no more than 5 percent of the total 2-year grant award can be used
                                                      for administrative and infrastructure development costs.

                                           States were permitted to carry over unobligated funds to the second year of
                                           the STR grant program if the amount did not exceed 10 percent of the
                                           State’s approved annual budget.34, 35 To carry over unobligated funds
                                           exceeding this amount, prior approval from SAMHSA was required.
                                           Although the 2-year STR grant period ended on April 30, 2019, States could
                                           apply to SAMHSA for a one-time no-cost extension. This extended the final
                                           budget period for up to 12 months to give States additional time to obligate
                                           and spend their STR grant funds beyond the original end date for the
                                           project.


                                           Reporting Requirements
                                           States were required to submit both financial and progress reports twice
                                           a year (every November and May). Progress reports included information
                                           on how States allocated their STR funding across the different areas (i.e.,
                                           prevention, treatment, recovery, and administrative costs) as well as
                                           information on the number of people receiving treatment and recovery
                                           support services through STR grant funding.36


                                           STR Grant Program Reauthorization
                                           The SUPPORT for Patients and Communities Act of 2018 reauthorized the
                                           STR grant program through FY 2021.37 However, Congress did not allocate
                                           new funds to STR in FY 2019. Instead, Congress provided funding through a
                                           new effort--the State Opioid Response (SOR) grant program.38

      State Opioid                         As described above, Congress established the SOR grant program to build
                                           upon the STR grant program. The requirements for the SOR grant program
      Response Grants
                                           are similar to those for STR grants but are more explicitly focused on
                                           "increasing access to MAT using the three FDA-approved medications for
                                           the treatment of opioid use disorder."39

                                           SAMHSA awarded the first SOR grant 17 months after it awarded the first
                                           STR grant.4° Therefore, States received both STR and SOR funding during
                                           the second year of the STR grant period, as depicted in Exhibit 2 (see next
                                           page). The SOR funding was distributed using a formula similar to the STR
                                           grant formula, but it included an additional 15-percent set-aside for the
                                           10 States hardest hit by the crisis.41 SAMHSA first announced awarding $930
                                           million in SOR grants on September 19, 2018, and announced an additional
                                           $487 million in supplementary funding on March 20, 2019.42’43 Another
                                           $932 million was announced in September 2019 for second-year SOR
                                           grants.44



      States’ Use of Grant Funding for a Targeted Response to the Opioid Crisis
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                                          Exhibit 2. States Received Both STR and SOR Grant Funding During
                                          the Second Year of the STR Grant Program.

                                              State Targeted      Year 1          Year 2                No-Cost Extension
                                              Response to the
                                              Opioid Crisis            $485M           $485M
                                              Grant Program
                                              (STR)                 May _ Apt,      May _ Apr.            May _ Apr.
                                                                    2017   2018     2018         2019     2019     2020
                                                                                             I                                       I
                                                                                                 Oct.     Sep.      Oct.      Sep,
                                              State Opioid
                                              Response Grant
                                                                                    Year 1
                                                                                             I   2018     2019      2019     2020
                                                                                                                                     I   Year 2

                                              Program (SOR)
                                                                                             I      $930M

                                                                                                            Mar.     Sep,
                                                                                                                         $932M
                                                                                                                                     I
                                                                                  Supplement                2019     2020

                                                                                                                 $487M



                                           Source: OIG review of SAMHSA grant award announcements


      Methodology                          Scope
                                           This study included 56 of the 57 States and territories that received STR
                                           awards during the 2-year grant period (May 2017 through April 2019). We
                                           excluded one territory--the U.S. Virgin Islands--from our analysis because
                                           a hurricane had destroyed its communications infrastructure, rendering it
                                           unable to implement its STR grant program. This study examined only
                                           funds disbursed under the STR grant program. We did not include any
                                           other SAMHSA grant programs, such as SOR grants, in this review.

                                           Data Sources
                                           We obtained drawdown data from the HHS Payment Management System
                                           for both years of the STR grant program (May 2017 through April 2019).
                                           Drawdown data reflects records of grantee withdrawals of STR funds.

                                           From SAMHSA, we obtained a list of the States that requested to carry over
                                           first-year STR grant funds into the second year of the grant program; the
                                           amounts they requested to carry over; and the States’ rationales for the
                                           unspent funds. We also obtained a list of the States that requested a no-
                                           cost extension to allow for up to 12 additional months to spend their grant
                                           funds beyond the original end date for the project.

                                           We also obtained from SAMHSA the three 6-month STR grant progress
                                           reports that each State submitted for the first 18 months of the program
                                           (May 2017 through October 2018). The progress reports for the final
                                           6 months of the 2-year STR grant program (November 2018 through
                                           April 2019) were not available at the time of our review. The STR progress
                                           reports included data on (1) how States allocated funding among the
                                           various priorities, (2) the OUD service providers that received grant funding,
                                           and (3) the number of patients receiving treatment and recovery support
                                           services through STR grants.


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                                           Data Analysis
                                           We analyzed STR grant drawdown data to determine how much of each
                                           State’s award remained unspent after each year of the 2-year grant period.
                                           We examined the States’ carryover requests to determine how many States
                                           requested to carry over more than 10 percent of their funding and why their
                                           grant awards had remained unspent. We also examined how many States
                                           requested no-cost extensions for additional time to spend their grant funds
                                           beyond the original end date for the project.

                                           We reviewed the three progress reports that each State submitted at
                                           6-month intervals to determine (1) the amount of funding devoted to
                                           prevention, treatment, recovery support, and administrative costs after 18
                                           months of STR grant funding; (2) how States reported using STR funds to
                                           expand access to MAT; and (3) the number of patients who received
                                           treatment and recovery support services during each 6-month period.


                                           Limitations
                                           This report relied on States’ self-reported data on how the STR grant
                                           funding was spent--the priority areas on which they focused; the type of
                                           providers that received subrecipient funding; and the number of patients
                                           who received services. OIG did not independently assess the validity of
                                           these data.

                                           Although SAMHSA maintained its own financial records about the overall
                                           amount drawn down and carried over by each State, it relied on States’
                                           progress reports for more detailed information about how STR funding was
                                           spent (e.g., the proportions dedicated to prevention, treatment, recovery
                                           support, and administrative costs). Although these data were self-reported
                                           by each State, they were the best available information about how States
                                           were using their STR awards.

      Standards                            We conducted this study in accordance with the Quality Standards l~or
                                           Inspection and Evaluation issued by the Council of the Inspectors General on
                                           Integrity and Efficiency.




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      FINDINGS
      Almost a third of                    States have been slow to spend their STR awards, with $304 million
                                           remaining unspent after 2 years
      the total nationwide
                                           During the first grant year, most States experienced delays in implementing
      STR grant funding                    their respective STR grant programs. In total, $295 million (61 percent) of
      ($304 million)                       the $485 million award allocated in the first year remained unspent after
      remained unspent                     12 months. As a result, all but 2 States carried over first-year funding into
                                           the second year--including 17 that requested to carry over more than half
      after 2 years
                                           of their annual funding.

                                           Although expenditures increased during year two of the grant,
                                           $304 million--31 percent of the total 2-year $970 million award--still
                                           remained unspent after 24 months. This included nine States and five
                                           territories that spent less than half of their respective grant allocations. (See
                                           Exhibit 3.) Six of the nine States had drug overdose death rates that were
                                           higher than the national rate, so their inability to expend STR funding is
                                           particularly concerning.45 (Data on overdose death rates in U.S. territories
                                           were not available.) For example, West Virginia’s drug overdose death rate
                                           was more than double the national rate, yet it still had nearly two-thirds of
                                           its STR award remaining at the end of the second year. Appendix A shows
                                           the percentage of each STR grant award that was spent by April 30, 2019. In
                                           total, all but six States requested a no-cost extension that will allow them to
                                           spend their STR funding for up to 12 months beyond the original end date
                                           for the project.46

                                           Exhibit 3: Fourteen States Spent Less Than Half of Their Respective
                                           STR Grant Awards by the End of the 2-Year STR Grant Period.

                                                                            Total Spent   [] Remaining Balance


                                                    Micronesia
                                            Northern Marianas
                                                   Puerto Rico
                                                 West Virginia
                                                      Vermont
                                                     Delawa re
                                                     Arkansas
                                                     Nebraska
                                                         Palau
                                                      Montana
                                                     Louisiana
                                                       Indiana
                                              American Samoa
                                                       Arizona



                                           Source: OIG analysis of the Payment Management System’s Grant Drawdown Report, May 2, 2019.

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                                           Challenges with State procurement processes were a primary driver
                                           for spending delays
                                           SAMHSA staff reported that the most common explanation for States not
                                           drawing down significant portions of their respective STR awards was
                                           challenges related to State procurement processes. Procurement
                                           challenges included State legislative timelines that did not align with Federal
                                           appropriation cycles; State staffing shortages, sometimes as a result of
                                           hiring freezes; reluctance from contract bidders because the grants had a
                                           short duration (i.e., 2 years);47 and delays that resulted from contract
                                           negotiations. In addition to States encountering procurement challenges,
                                           some States also expressed to SAMHSA that they had not drawn down their
                                           awards because of workforce challenges and stigma related to MAT.

                                           Although SAMHSA cannot assist with State-specific procurement processes,
                                           it stated that it works with States to accelerate program implementation in
                                           other ways. For example, SAMHSA awarded an STR technical assistance
                                           contract to the American Academy of Addiction Psychiatry, which partnered
                                           with 27 other national professional organizations to form the Opioid
                                           Response Network. This network provides training and technical assistance
                                           focusing on applying evidence-based practices in prevention, treatment,
                                           and recovery support to meet locally identified needs. SAMHSA also
                                           reported that it works with States via regular conference calls and prioritized
                                           site visits. These technical assistance activities are intended to support
                                           States in effectively expending their STR awards by helping States overcome
                                           obstacles to expanding OUD prevention, treatment, and recovery support
                                           services in their respective local communities.


     States reported                       Across all States, 65 percent of STR funding was devoted to
                                           expanding access to treatment
     using STR funding
                                           According to SAMHSA, funding under the STR grant program was intended
     to expand access                      to expand access to evidence-based OUD treatment, especially MAT;
     to treatment, but                     reduce unmet treatment needs; and reduce opioid overdose-related deaths

     the number of                         through the provision of prevention, treatment, and recovery support
                                           services. States had flexibility in determining how to prioritize these goals
     patients who
                                           when spending their STR awards.
     specifically
                                           During the first 18 months of the 2-year grant program, 65 percent of the
     received MAT is                       total STR funding spent nationwide was devoted to treatment, 17 percent to
     unknown                               prevention, 13 percent to recovery support, and the remaining 4 percent to
                                           administrative costs. (See Exhibit 4.) However, there was wide variation
                                           among States in how they allocated funding in accordance with their
                                           assessment of local needs. For example, 46 States reported that more than
                                           half of their expenditures went to treatment services. Among these
                                           46 States were 2 States--Delaware and Florida--that dedicated more than
                                           90 percent of their expenditures to treatment. In contrast, one State--
                                           Massachusetts--reported that it spent more than half of its expenditures on
                                           recovery support services. Two States--South Dakota and Nebraska--
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                                           reported that they spent more than half on prevention. Appendix B shows
                                           the percentage of each State’s STR grant award expenditures by category.

                                           Exhibit 4: Nearly Two-Thirds of STR Grant Funding Spent During the
                                           First 18 Months Was Devoted to Treatment.

                                                        65%




                                                                                  17%
                                                                                                        13%


                                                                                                                              4%



                                                     Treatment                Prevention          Recovery Support       Administration


                                           Source: OIG analysis of SAMHSA STR Grant data, 2019.

                                           Although 4 percent of funding was spent nationwide on administrative
                                           costs, more than a third of States (22 of 56) were exceeding the 5-percent
                                           administrative spending cap at the 18-month mark of the 2-year grant
                                           period. (See Appendix B.) This included eight States that had spent
                                           10 percent or more in this area. SAMHSA staff noted that administrative
                                           expenses are often higher during the initial implementation of a grant and
                                           that agency staff work closely with grantees to ensure that administrative
                                           caps are not exceeded by the time all funds have been disbursed. However,
                                           at least according to the 18-month data reported to SAMHSA, two States
                                           (i.e., Georgia and Minnesota) will exceed the 5-percent threshold even if they
                                           do not spend another dollar on administrative costs during the remainder of
                                           the grant.


                                           STR grant funding increased the number of patients receiving some
                                           form of OUD treatment, but SAMHSA did not track whether these
                                           patients received MAT
                                           SAMHSA required States to use STR grant funds to implement or expand
                                           access to evidence-based treatment for OUD, particularly MAT. However,
                                           SAMHSA required States to provide data only on the number of patients
                                           who received any type of OUD treatment (i.e., detoxification,
                                           abstinence-based approaches, or MAT). SAMHSA did not collect data on
                                           the precise numbers of patients who received MAT services through
                                           STR funding, but rather on the broad numerical ranges of such patients--


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                                           e.g., "25 to 49," "100 to 249," "1000 or more." As a result, an exact count of
                                           patients receiving STR-funded MAT cannot be calculated.

                                           As shown in Exhibit 5, the number of patients receiving any OUD treatment
                                           (not exclusively MAT) under STR grants nationwide increased steadily from
                                           about 37,000 patients during the first half of the first grant year to
                                           approximately 118,000 during the first half of the second year. Similarly, the
                                           number of patients receiving recovery support services also increased over
                                           time, from 13,000 in the first 6 months of the grant to nearly 54,000 patients
                                           1 year later.

                                           Exhibit 5: The Number of Patients Receiving Treatment and Recovery
                                           Support Services Increased Substantially After Initial Delays in
                                           Implementation of the STR Program.

                                                                           ::   Treatment         :Recovery Support

                                            140,000
                                                                                                                                  118,271
                                            120,000

                                            100,000                                           84,640              .....
                                             80,000
                                                                                                                                   53,749
                                             60,000

                                             40,000
                                                                                              20 629                  ....
                                                                  12,973                        ...............
                                             20,000

                                                   0
                                                           May 2017-Oct. 2017           Nov. 2017-Apr. 2018                  May 2018-Oct. 2018

                                           Source: OIG analysis of SAMHSA STR grant data, 2019.

                                           The information above suggests that the STR grant program was likely
                                           successful in expanding access to general OUD treatment and recovery
                                           support services, given that Congress required States to use allocated funds
                                           to supplement, not supplant, existing treatment and recovery support
                                           services. However, it is unclear how successful the program was at
                                           achieving its goal of expanding access to MAT, because SAMHSA did not
                                           collect specific data on how many patients received this service.

                                           Although we were unable to determine how many patients received MAT,
                                           SAMHSA did ask States to indicate whether they were using STR grant
                                           funding to expand access to MAT in different clinical and institutional
                                           settings. During the most recent reporting period (May through
                                           October 2018), 50 of the 56 States and territories responded that they were
                                           using STR grant funds to expand access to at least one of the three types of
                                           MAT. As shown in Exhibit 6, 71 percent of States reported using STR
                                           funding to expand access to MAT in Opioid Treatment Programs
                                           (commonly known as methadone clinics), 62 percent to MAT in doctors’
                                           offices, and 52 percent to MAT in other settings. Additionally, nearly
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                                           two-thirds of States reported offering MAT services to patients transitioning
                                           from criminal justice facilities or residential settings for substance-abuse
                                           treatment. During the same period (May through October 2018), States
                                           indicated that they allocated funds to a total of 641 MAT-providing entities.

                                           Exhibit 6: Most States Reported Using STR Grant Funds To Expand
                                           Access to MAT.
                                                                                                                States Using STR
                                                                                                               Grant Funds for This
                                             Select STR Grant Priority Areas                                           Service
                                             Expanding the number of patients served with:
                                                          Methadone, buprenorphine, or naltrexone in                          40 (71%)
                                                          Opioid Treatment Programs
                                                          Buprenorphine-Waivered Office-Based Opioid                          35 (62%)
                                                          Treatment practice settings
                                                          Naltrexone in other settinqs                                        29 (52%)
                                             Expanding the number of MAT patients admitted from:
                                                          Hospital emergency departments or hospital                          32 (57%)
                                                          inpatient treatment units
                                                          Detoxification services                                             26 (46%)
                                                          Residential services for substance-abuse                            37 (66%)
                                                          treatment
                                                          Correctional or detention facilities                                34 (61%)
                                           Source: OIG analysis of SAMHSA May to October 2018 STR Grant Report, 2019. N = 56 States and
                                           territories.




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      CONCLUSION AND RECOMMENDATIONS
                                           With an average of 130 opioid-overdose deaths per day,48 it is paramount
                                           that SAMHSA and its State partners quickly and effectively use Federal grant
                                           dollars to expand access to OUD treatment. The STR grant program
                                           represented SAMHSA’s first nationwide effort to assist States in addressing
                                           the opioid crisis through improved access to evidence-based OUD
                                           treatment services. In this review, OIG found that most States were slow to
                                           spend their STR awards, with $304 million--almost a third of total funding--
                                           remaining unspent after 2 years. These delays raise serious concerns given
                                           the urgency of the opioid crisis as well as the billions in additional opioid
                                           funding allocated through other grant programs, such as the SOR grant
                                           program. The fact that many States found it difficult to spend STR awards in
                                           a timely fashion leads to questions about their capacity to meet the urgent
                                           treatment needs of Americans suffering from OUD. If States are slow or
                                           stalled in spending Federal grants, local communities may not have the
                                           resources needed to fight the overdose epidemic and to continue their
                                           efforts to reverse the OUD crisis.

                                           In addition, several States were also in danger of exceeding the legislatively
                                           mandated 5-percent cap on administrative costs. According to data
                                           provided to SAMHSA, two of these States may have already exceeded this
                                           threshold.

                                           Nonetheless, States reported using STR grant funding to expand access to
                                           treatment services. Across all 56 States and territories included in our
                                           review, 65 percent of spending over the first 18 months was devoted to
                                           increasing access to some form of OUD treatment, with most States
                                           reporting that at least a portion of their respective STR awards went towards
                                           MAT-related services. However, SAMHSA did not collect data on how many
                                           patients specifically received MAT--the primary evidence-based OUD
                                           treatment--versus other types of treatment (abstinence or detoxification).
                                           Without such information, it is unclear how successful the program was at
                                           achieving its goal of expanding access to evidence-based OUD treatment.

                                           We recommend that SAMHSA do the following:

                                           Work closely with States and territories during the no-cost
                                           extension period to address barriers to timely spending and to
                                           ensure that administrative cost caps are not exceeded

                                           Fifty-one States and territories requested no-cost extensions that will allow
                                           them to spend their STR funding for up to 12 months beyond the original
                                           end date for the project. During this additional time, SAMHSA should
                                           proactively monitor States--particularly, the 14 that have spent less than
                                           half of their respective grant allocations--to ensure they efficiently and
                                           effectively spend their awards to meet STR program goals. If States are
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                                           experiencing barriers to expanding OUD treatment capacity through the
                                           STR program, these same barriers could likewise limit their ability to
                                           effectively administer similar grant programs, such as the SOR grants.
                                           SAMHSA could take any lessons learned from assisting States with barriers
                                           to OUD treatment expansion and apply them to future grant programs with
                                           similar goals. Likewise, SAMHSA should apply any tools and lessons learned
                                           from its monitoring of the STR grant expenditures (including oversight of
                                           States’ administrative spending) to be better prepared for oversight of other
                                           opioid treatment grant programs, like SOR.

                                           Additionally, SAMHSA staff should carefully review the administrative costs
                                           reported by States since our review, with particular attention to the
                                           22 States at risk of exceeding the 5-percent cap on such costs. SAMHSA
                                           should impose additional award conditions, such as requiring additional
                                           project monitoring and more detailed financial reports, for those States that
                                           have exceeded the administrative cost cap.49


                                           Require States that receive grants for OUD treatment to
                                           specifically report how many patients are receiving MAT
                                           A key strategy of HHS’s Five-Point Strategy to Combat the Opioid Crisis is to
                                           "strengthen public health data reporting and collection to improve the
                                           timeliness and specificity of data." A primary goal associated with this
                                           strategy is to collect better data on outcomes, including better data on the
                                           number of patients receiving MAT. Also, in an October 2017 report, GAO
                                           found that HHS lacked specific performance measures to evaluate whether
                                           its efforts had expanded access to MAT, and recommended that HHS
                                           "establish performance measures with targets related to expanding access
                                           to MAT."s°

                                           SAMHSA is one of the primary Federal agencies charged with providing
                                           funding to States to address the opioid crisis and plays a significant role in
                                           HHS’s efforts to collect more timely and specific data in this area.51 As
                                           SAMHSA continues to administer grant programs intended to increase
                                           access to OUD treatment, it should develop specific metrics to track and
                                           monitor whether the patients served through these programs are receiving
                                           MAT, the primary evidence-based treatment for OUD. Without such data,
                                           SAMHSA has limited means to monitor whether the money spent through
                                           STR grants, SOR grants, and other future grant programs is helping patients
                                           obtain effective, evidence-based treatment for OUD.




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      AGENCY COMMENTS AND OIG RESPONSE
                                           SAMHSA concurred with both of our recommendations.

                                           In response to our first recommendation, SAMHSA noted that it permitted
                                           no-cost extensions so that States had additional time to complete grant
                                           activities that might have been delayed because of procurement processes
                                           or other challenges. SAMHSA also stated that its Government Project
                                           Officers communicate regularly with States to discuss barriers to
                                           implementation, provide guidance, and direct grantees to appropriate
                                           technical assistance. OIG believes that as part of this process, SAMHSA
                                           should work proactively with the 14 States and territories identified in this
                                           report that had spent less than half of their grant allocations, as these States
                                           may be encountering significant challenges. Additionally, OIG urges
                                           SAMHSA to monitor the 22 States and territories at risk of exceeding the
                                           5-percent administrative cost cap and impose additional award conditions
                                           on those that exceed it.

                                           In response to the second recommendation, SAMHSA indicated that its
                                           newer opioid-related grant program, the SOR grant program, requires the
                                           reporting of more detailed information, including the exact number of
                                           clients receiving MAT services. OIG believes that SAMHSA’s efforts to
                                           collect more precise data under the SOR grant program will improve HHS’s
                                           ability to evaluate whether its efforts have expanded access to effective,
                                           evidence-based treatment for OUD.

                                           Finally, SAMHSA took issue with how OIG’s findings presented data related
                                           to MAT reporting. SAMHSA stated that it tracked whether STR grant
                                           funding was used to provide MAT, but that it did not collect data on the
                                           exact number of patients receiving MAT. OIG acknowledges this in the
                                           report and makes the point that collecting data on numerical ranges of
                                           patients who were provided MAT does not allow OIG or SAMHSA to
                                           calculate the total number of patients receiving MAT through STR funding.

                                           For the full text of SAMHSA’s comments, see Appendix C.




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      APPENDIX A: Percentages of STR Awards
      That Remained Unspent After 2 Years
       State                                            2-Year Grant Award        Total Spent   Remaining Balance
       Alabama                                                     15,935,746          91.9%                 8.1%
       Alaska                                                       4,000,000          51.2%               48.8%
       American Samoa                                                 500,000          47.5%                52.5%
       Arizona                                                     24,343,036          49.4%                50.6%
       Arkansas                                                     7,802,590          39.1%               60.9%
       California                                                  89,499,542          50.2%               49.8%
       Colorado                                                    15,739,302          78.3%                21.7%
       Connecticut                                                  11,000,314         88.4%                11.6%
       Delaware                                                     4,000,000          36.8%               63.2%
       District of Columbia                                         4,000,000          52.1%               47.9%
       Florida                                                     54,300,806          88.6%                11.4%
       Georgia                                                     23,565,420          72.2%                27.8%
       Hawaii                                                       4,000,000          59.6%               40.4%
       Idaho                                                        4,000,000          94.2%                 5.8%
       Illinois                                                    32,657,166          71.6%               28.4%
       Indiana                                                      21,851,984         46.9%                53.1%
       Iowa                                                          5,456,154         75.4%               24.6%
       Kansas                                                       6,228,804          93.3%                 6.7%
       Kentucky                                                     21,056,186         62.9%                37.1%
       Louisiana                                                   16,335,942          45.8%               54.2%
       Maine                                                        4,078,058          71.5%               28.5%
       Maryland                                                    20,073,627          58.9%                41.1%
       Massachusetts                                               23,818,848          80.9%                19.1%
       Michigan                                                    32,745,360          56.0%               44.0%
       Micronesia                                                     500,000          22.6%               77.4%
       Minnesota                                                   10,758,698          73.3%                26.7%
       Mississippi                                                   7,169,354         71.6%               28.4%
       Missouri                                                    20,031,796          97.3%                 2.7%
       Montana                                                      4,000,000          45.2%               54.8%
       Nebraska                                                     4,000,000          43.6%               56.4%
       Nevada                                                       11,326,656         67.1%                32.9%
       New Hampshire                                                6,589,732          55.3%               44.7%
       New Jersey                                                   25,991,241         55.5%               44.5%
       New Mexico                                                    9,585,102         87.3%                12.7%
       New York                                                    50,521,352          74.4%               25.6%
       North Carolina                                               31,173,448         90.9%                 9.1%
       North Dakota                                                 4,000,000          89.6%                10.4%
       Northern Marianas                                              500,000          23.2%               76.8%

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       State                                            2-Year Grant Award        Total Spent   Remaining Balance
       Ohio                                                         52,121,004         77.0%               23.0%
       Oklahoma                                                    14,566,458          84.7%                15.3%
       Oregon                                                       13,128,850         55.2%               44.8%
       Palau                                                          500,000          44.0%                56.0%
       Pennsylvania                                                 53,015,118         73.4%               26.6%
       Puerto Rico                                                  9,623,924          31.2%               68.8%
       Rhode Island                                                 4,334,014          71.4%               28.6%
       South Carolina                                               13,151,246         94.6%                 5.4%
       South Dakota                                                 3,999,994          53.6%               46.4%
       Tennessee                                                   27,630,264          90.2%                 9.8%
       Texas                                                       54,724,714          S2.1%               47.9%
       Utah                                                         11,074,916         85.5%                14.5%
       Vermont                                                      4,000,000          36.4%               63.6%
       Virginia                                                    19,524,664          95.4%                4.6%
       Washington                                                  23,580,512          70.0%                30.0%
       West Virginia                                               12,096,966          34.1%               65.9%
       Wisconsin                                                   15,273,876          60.0%               40.0%
       Wyoming                                                      4,000,000          82.3%                17.7%
       Total                                                     969,482,784           68.7%                31.3%




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      APPENDIX B: Percentage of STR Award
      Expenditures by Category After 18 Months
       State                                       Prevention            Treatment        Recovery Support    Administration
       Alabama                                            8.9%                    85.6%              2.9%              2.6%
       Alaska                                            31.4%                    33.3%             35.2%              0.0%
       American Samoa                                    12.5%                84.5%                  0.0%              3.0%
       Arizona                                           24.0%                    73.0%              0.0%              2.9%
       Arkansas                                          23.1%                46.6%                  14.7%             15.6%
       California                                        34.7%                    63.6%              0.0%               1.6%
       Colorado                                          20.3%                    76.3%               3.2%             0.3%
       Connecticut                                       29.7%                44.9%                 23.8%               1.6%
       Delaware                                           0.2%                    91.9%              0.0%              7.9%
       District of Columbia                               9.9%                    87.2%              0.5%              2.3%
       Florida                                             1.5%                   91.7%               3.5%             3.3%
       Georgia                                           20.2%                    52.1%              14.3%             13.3%
       Hawaii                                             9.9%                    80.1%              10.0%             0.0%
       Idaho                                               6.1%                   65.8%              26.1%             2.0%
       Illinois                                          14.6%                    81.1%               1.2%              3.1%
       Indiana                                           29.2%                    60.5%              0.0%              10.3%
       Iowa                                              22.2%                    72.7%              0.0%               5.1%
       Kansas                                            12.9%                    81.4%              4.6%               1.2%
       Kentucky                                          24.2%                    55.5%              14.4%             5.9%
       Louisiana                                          16.7%                   62.7%               8.7%             11.9%
       Maine                                             22.9%                74.9%                  2.0%              0.2%
       Maryland                                          28.6%                    69.2%               1.4%             0.8%
       Massachusetts                                      12.7%                    8.5%              74.1%             4.7%
       Michigan                                          32.2%                    53.0%              7.8%              7.0%
       Micronesia                                         8.4%                    77.5%              6.4%              7.7%
       Minnesota                                         23.8%                    53.5%              13.2%             9.5%
       Mississippi                                        9.5%                    86.0%               1.0%             3.5%
       Missouri                                           4.9%                    83.3%              7.8%              3.9%
       Monta na                                          21.5%                    54.7%              12.3%             11.5%
       Nebraska                                          54.5%                    37.0%              0.0%              8.5%
       Nevada                                            13.2%                    81.7%              0.0%               5.1%
       New Hampshire                                      39.1%                   54.5%              6.4%              0.0%
       New Jersey                                          3.5%                   43.1%             48.8%              4.6%
       New Mexico                                        22.2%                    63.1%              10.5%             4.2%
       New York                                          18.6%                46.6%                  31.6%             3.3%
       North Carolina                                    12.8%                    80.3%              6.2%              0.7%
       North Dakota                                      24.8%                    59.3%              10.4%             5.5%
       Northern Marianas                                  0.0%                    86.2%              0.0%              13.8%
       Ohio                                               21.1%                   76.2%              0.0%              2.7%
       Oklahoma                                          32.6%                    54.9%               5.0%             7.5%

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       State                                       Prevention            Treatment        Recovery Support    Administration
       Oregon                                            26.1%                    63.5%              8.0%              2.4%
       Palau                                              7.0%                    81.7%              8.3%              3.0%
       Pennsylvania                                       15.7%               65.4%                  14.6%             4.3%
       Puerto Rico                                        27.1%                   63.1%               0.7%              9.1%
       Rhode Island                                      22.7%                    35.4%             35.4%              6.4%
       South Carolina                                    17.4%                    62.0%              16.6%             4.0%
       South Dakota                                      79.3%                     7.5%               2.7%             10.5%
       Tennessee                                         18.3%                    71.8%              7.0%              2.9%
       Texas                                              9.5%                    52.3%             30.3%              7.9%
       Utah                                               11.6%                   73.7%              10.0%             4.6%
       Vermont                                           25.8%                    24.1%              37.2%             12.8%
       Virginia                                          24.9%                    53.8%              17.7%             3.6%
       Washington                                         15.1%                   71.8%              8.2%              5.0%
       West Virginia                                     18.4%                    70.7%              8.9%               1.9%
       Wisconsin                                          11.8%                   63.6%              18.4%              6.1%
       Wyoming                                            8.9%                    84.1%               6.7%             0.4%
          Total Expenditures                             17.2%                65.4%                 13.2%              4.2%
          Nationwide




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      APPENDIX C: Agency Comments

                 5AWIHSA
                  Substance Abuse and Mental Health
                        Services Administration




                        TO:           3uzanne Murri~
                                      Deputy Inspector General for ~va]uafion and Insp~tions
                                      Office of Ins~ctor Gcner~

                        FROM:         El~o~ F. McCan~-Katz, M.D., Ph.D,
                                      AssaUlt S~re~ for Mental Heath ~d Substance Use

                        SUB~CT:       GIG Draft Rc~fl: Slates’ Use t~’Granl ffunding]br a Targeled Re~nse
                        (~oid Crisis, OE~-BI.- I 8-~460

                        Fhe Subst~ce Abuse ~d Mental Heal~ S~ic~s Adm~aislration has ~viewed the subjecl
                        document ~d ¢oncu~ with lh¢ recommendations. SAM~SA affe~ the a~ched ~mm~mls
                        consMe~fioa,




                                                           Elinore F. McC~ce-Kai~, M.D., Ph.D.

                        Attacluncnt




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                        GENERAl, COMMENTS FROM TIlE SUFISTAN{~YE ABUSE AND MENTAl,
                        SERVI{.’~:S ADMINISTRATION ON ’rlt~ os’~’l{’~: OF INSPE{.!TOR (;ENERAL’S
                        Di~.l,"r REPORT ENTrrLED-STATES USE OF GI~.NT Ft~.XDtNt~ FOR A
                        T,~RGETED RE.~PONSE TO TIlE opIOID CRISIS



                        ’lhe Substance Abuse ~md Mental Health Services Administration (SAMHSA) appreciates the
                        opport~mity from Ihe Office o[~ lnsl~ctor G~:neral (OIG) to review and comment on this report
                        and h~ks fi~rward to {mtinuing to work with the D~partment and Congress on efforls to address
                        the opioid ~xisis.

                        SAX’HISA would like to note that the r~ort is not fully accurate in slating that SAMHSA did not
                        track whether patients received m~ication-~ssist~d treatmen~ (M A’[’). S AM H S A tracked that
                        STR ~ant fuIMing was used to provide MAT. However. staffdid not collect data on the exact
                        number o[’p~iet~s receiving MAT. SAMIISA would also Like {o note that the r~ is not thlly
                        accural~ in slating fl~a! SAMHSA only r~quircd s~atcs to provide data on the numbs+ of" patients
                        that received any I~ of O[r D t~at m~t. S AM lISA did ollect data on the ranges o f th
                        provision of MAT. as noted in Exhibit 6.

                        SAMIlSA wotitd also like to mention tidal during the audit th~ agency noted data limitations and
                        have corr¢~¢d this issue to collect more specific data on MAT in the S{)R grant program.


                        Recommendation 1
                        SAMIISA should work closely with Stat~s and tcrcitori~,.’s during the no-cost extension p~.’ri{M to
                        address barriers to timely spending and to ensure that administrative cost caps are not exceeded.

                               SAMllSA
                               SAMIISA concurs with this recommendation. By ~anting no c,~t c~tcnsions. SAMIISA
                               allows granl~s to complete unfinished work I~om the original pr~je~ ~riod often due
                               bi~ie~ and challenges experienced during ~t implemenhttion. A~itionally.
                               Govemm~t ~ojecl OIl~ce~ c~municate regul~ly with s~atcs to distress chal[~ges
                               bi~i¢~ ~o implementation, provi~ gui~nce, and direcl gr~lees to i~propriat¢ technical
                               assistance.

                               Recommendation 2
                               SAMHSA should r~luire States that receive gr~mls for OLID treatment to specifically
                               report how many patients are receiving

                               SAMHSA Resnonse
                               SAMIISA concurs with th:is recommendation. Metrics fi+r this program were detem;ined
                               under previous SAMHSA leadership. As holed during the in\,¢stigation, new State
                               (,)plaid Response fimding requires much more detailed information on Ihe provision of
                               MAT, includin8 the exact number of clients receiving each form of MAT.




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                                           To obtain additional information concerning this report or to obtain copies,
                                           contact the Office of Public Affairs at Public.Affairs@oig.hhs.gov.



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                                           work done by others. Audits examine the performance of HHS programs
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